Case 5:22-cv-05016-PKH Document1 Filed 01/27/22 Page 1 of 12 PagelD #: 1

In the United States District Court

Western District Of Arkansas
ille Division

JOE ALLEN 24/058

(In the space above enter your full name and Prison ID
Number, if any. Do not include your Social Security Number).

-against-

TIM HELDER, SHERIFF

MATT DURRETT, PRosecuToR

Case
No.
(To be filled out by Clerk’s
Office only)

COMPLAINT

(Pro Se Prisoner)

e Jury D d?
DENNIS DEAN, PROSECUTOR ” taiven.
HUGH SHOWALTER , ATTORNEY 2eoloG/ CNo
(In the space above enter the full name of each Defendant)
NOTICE
Do not attach exhibits, affidavits, grievances, witness
statements, or any other materials to your Complaint. Any
materials other than the Complaint will be returned to you
unfiled by the Clerk’s Office.
L PLAINTIFF INFORMATION ~
Joe ALLEN 241056
Name (First, Middle, Last) Aliases
Z4 1038
Prisoner ID #, if any
Washington County Detention Center
Place of Detention or Incarceration l

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[155 CLYDESDALE oORiVE

Address (If detained, facility address)

Washington, Fayetteville ABBANSAS 7Z70|
County, City State Zip Code

II. PRISONER STATUS

Indicate whether you are a prisoner or other confined person as follows:
Pretrial detainee

(_] Convicted and serving a sentence. Provide Date of Conviction _

meee mere

(_] Other. Explain:

I. DEFENDANT(S) INFORMATION

Please list the following information for each defendant. If the correct information is not provided, it
could result in the delay or prevention of service. If you need more space for additional defendants,
list the additional defendants on another piece of paper, providing the same information. Do not list
witnesses. The jail or detention center is a building and cannot be sued.

Defendant 1: HELDER, TIM
Name (Last, First)

SHERIFF

Current Job Title

[(55 CLYDESDALE DRIVE
Current Work Address
Washingion, Fayetteville ARKANSAS. “7270 To oe

County, City State Zip Code

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Defendant 2:

Defendant 3:

Defendant 4:

DUBRETT, MATT

Name (Last, First)
PROSECWTOR

Current Job Title
Z60 NOBTH COLLEGE, SuITE JO!

Current Work Address
Washington, Fayetteville ARKANSAS 7210!

County, City State Zip Code

DEAN, DENNIS

Name (Last, First)
PROSECUTOR

Current Job Title

Z6@O NORTH COLLEGE, SVITE 30|

Current Work Address

wlashing ton, Fayeten lle ABKANSAS 727@ |
County, City State Zip Code

SHOWALTER, HUGH # ZOO| OG!

Name (Last, First)

ATTORNEY

Current Job Title

427 West WALNUT STREET

Current Work Address

Benim, Rogers ARKANSAS 72Z10|

County, City - State Zip Code

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IV. STATEMENT OF CLAIMS

State every ground on which you claim that one or more of the Defendants violated your federal
constitutional rights. List each claim separately (e.g., excessive force, denial of medical care, access
to the courts, conditions of confinement, etc.). If you have more than three separate claims, you may
attach additional sheets of paper, providing the same information for each claim. You may attach no
more than one additional sheet for each claim.

Claim Number 1:

Place(s) of

occurrence: Washington County Detent on Center

Beawning on ZB FEBZOZ0 continwing throug preser
“ JS WT oT t

Date(s) of occurrence:

Name of Each Defendant Involved:

TIM HELVER, SHERIFF

MAtr ovaRETT , PROSSwTOR,
DENNIS DEAN, PRoseewrDR

State which of your federal constitutional rights (e.g., excessive force, denial of medical care,
conditions of confinement, etc.) or federal statutory rights have been violated:

The civil rights billed by the [97 5ST" O™ and 6 Awmendments one
gatouteed by te (4°* Anmendment hoe beewdenied and the violations
ok (8 0.5.6. § 241 and (8 USC,§ 242 against civil rights under Color of jaw.

State here briefly the FACTS that support your case. Describe how EACH DEFENDANT was
personally involved in the alleged wrongful actions, state whether you were physically injured as a
result of those actions, and if so, state your injury and what medical attention was provided to you.

PACTS: The Waghing tor County Sheriffs Office during the administation
of Sherifé Tim Helder in cooperation with the ORice of tre. Prosecuting

cas ; Attorney for the Citunit Court of Woshi n4ton County, Arkansas, Fourth
to you! Judicial District, Division Six, during the administation of

Matt Duet, through the practice of Dennis Dean, have hept
the plaintiff in custody for +wo Years of wrongful imerisonment
a T

Page 4 of 11

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Without due process of law, without a fait, Speedy, public triql
by | jury, and aes lah bo Lan" van iow e

Wie di that the wationts ate wetsalil the deferrdayts have Conhinueel

what?
to deny the Civil tights tp habeas Corpus in Nos.. 7ZCR-14- 485,

7208 -4- 278), 7L.ca-\4- 2794, 1208 -14-3018, and 1ZC8- 19- 334Z.

How were inatietaion. of (BU.S. 0.3 24 | andl 18.05.68 242. Against the

you

injured? avil tights of the plaintifé under Color of law, Thedefendants

libert (o laintl Cals
-- So imprisonment are denial of getitions a Writ

Ackaneas Bulb of Criminal Yoveduare. 2B.| WMC) toroual rough” A
ploseprutorial mistondyst. (See attached notarized documents)

With regard to claim 1, are you suing Defendant(s) in his/her/their:

O ~—_ Official capacity only (An official capacity claim is the same as suing the governmental
entity the Defendant(s) work(s) for and requires proof that a custom, policy, or
widespread practice of the governmental entity caused the violation).

O) Individual capacity only (An individual capacity claim is one that seeks to hold an
individual liable for his own actions taken in the course of his duties).

M Both Official and Individual capacity

If_ you are asserting an official capacity claim, please describe the custom, policy, or
widespread practice that you believe caused the violation of your constitutional rights.
The unusual MODUS OPERANDL at pages 54-55 of the Washing ton
County Detention Center Folicy Manual, D4-1, Secrion 6-1o00Z,

ee Balancing , - Bemoyerl af Rights, ang the unusual

Court of Washing tov County to Continue pretrial detention for

filo veal and deny petitions for writ of nabeus Cofpus by negligent practice,

Claim Number 2:

Place(s) of , .
occurrence: Washing ton County Detention Center

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Case 5:22-cv-05016-PKH Document1 Filed 01/27/22 Page 6 of 12 PagelD #: 6

Date(s) of occurrence: Beginning ZB FES. ZOZO Conninvitg though pr esent,

Name of Each Defendant Involved:

TIM HELDER, SHERITF
MATT DURRETT, PRosecurdR
DENNIS DEAN, PROSEcUTDR

State which of your federal constitutional rights (e.g., excessive force, denial of medical care,
conditions of confinement, etc.) or federal statutory rights have been violated:

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by rhe (44 Basveadinaince havies been denied and ee
of IBUSG § 24! ond 16 V.5C. § 24 Z against evil vights under colorot law.

State here briefly the FACTS that support your case. Describe how EACH DEFENDANT was
personally involved in the alleged wrongful actions, state whether you were physically injured as a
result of those actions, and if so, state your injury and what medical attention was provided to you.

FACTS: The Woshington County Sheriffs OFF ce during +he administration
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to you? Arkansas: Fouttla i District, Division “A durina the

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Alan Lunsford on 7-17-2@2-| at 4 IS: 44 2M egaching leaal

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With regard to claim 2, are you suing Defendant(s) in his/her/their:

CL] Official capacity only (An official capacity claim is the same as suing the governmental
entity the Defendant(s) work(s) for and requires proof that a custom, policy, or
widespread practice of the governmental entity caused the alleged violation).

(1) Individual capacity only (An individual capacity claim is one that seeks to hold an
individual liable for his own actions taken in the course of his duties).

Both Official and Individual capacity

If you are asserting an official capacity claim, please describe the custom, policy, or

widespread that you believe caused the violation of your constitutional rights.

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40 due process of | law and ing Vsecl by He oftice of the PrSscesting
Attownesy for the Cittuit Court of “Washington County ad the Clee fone Video cout

law practice to deny civil rights to Pai, Speedy, publ ic trial by jury.

Claim Number 3:

ace(s) of . -
oe Washington County Detention Center

Date(s) of occurrence: Beg mung ZB rEB 2020 ! contirwing throug). presente

Name of Each Defendant Involved:

TIM HELDER, SHERIFF
MATT DURRETT, PBosecu oR
DENNIS DEAN PRosecuToR
HUGH BROCK SHOWALTER, ATIDRNEY #Z00I106|.

State which of your federal constitutional rights (e.g., excessive force, denial of medical care,
conditions of confinement, etc.) or federal statutory rights have been violated:

The tiv rights billeel toy the |S Bm b™, and B™ Anamend ments ond

gatas eye 2 Armmendment to Hy U.S. Constitvrion Nave been denied
and Violations of 18 U.S.C. 8 241 and 18 U.S, C.§ Z4Z cgainstaivil cights under

Color aieigatione. law.
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State here briefly the FACTS that support your case. Describe how EACH DEFENDANT was
personally involved in the alleged wrongful actions, state whether you were physically injured as a
result of those actions, and if so, state your injury and what medical attention was provided to you.

FACTS: Thy idl ton County Sheritts ee of

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to you? Worst District, Take sucing Hu aduaniee tion of Mate
Duet for two years of wrongful imprisonment i in the
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ce, and mi have deni wil C1 fo
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as peed, Publi trial by | naanst cruel and unusual
injured? punishment by Coercion, Ark, Code Ann. 9 5-13- 208 ane

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NPAC duty With due cdiliaente. as Officers, Of in.i9 and F ys
at law. (5

With regard to claim 3, are you suing Defendant(s) in his/her/their:

1) = Official capacity only (An official capacity claim is the same as suing the governmental
entity the Defendant(s) work(s) for and requires proof that a custom, policy, or
widespread practice of the governmental entity caused the alleged violation).
Individual capacity only (An individual capacity claim is one that seeks to hold an
individual liable for his own actions taken in the course of his duties).

©) Both Official and Individual capacity

If you are asserting an official capacity claim, please describe the custom, policy, or

widespread practice that you believe caused the violation of your constitutional rights.

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inviolation of 1BU.5.C.5 241 avd 180.5.C.¢ 242.

V. RELIEF

If you are asking for money damages from the named Defendant(s), indicate below the types of
damages you are seeking:

¥] Compensatory damages (money damages designed to compensate for injuries, such as
physical pain and suffering, etc., that are caused by the deprivation of constitutional

rights).

Punitive damages (designed to punish a defendant for engaging in misconduct and to
deter a Defendant and others from engaging in such misconduct in the future).
™ Other relief (describe below).

State briefly what you want the court to do for you. Make no legal arguments. Cite no cases or statutes.
If you are requesting money damages, include the amounts of any actual damages and/or punitive
damages you are claiming. Explain why you believe you are entitled to those damages.

Proceec| +o a tial by jury as attorling to the Seventh
Amendment fo the Constitution of the United States oF
Amnecica.

Order that the Plamtiff be Ys ily ved

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EXEMPLIS RATA : 42 U.5.C0.§ 1313 (A) \ neveases
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VI. PRISONER’S LITIGATION HISTORY

Have you brought any other lawsuits in state or federal court while a WM Yes OCINo
prisoner?
If yes, how many? ONE

Have you brought any other lawsuits in state or federal court dealing with Yes 0 No
the same facts as this case?

If yes, how many? ONE

Number each different lawsuit below and include the following:

e Name of case (including defendants’ names), court, and docket number

e Nature of claim made

e How did it end? (For example, if it was dismissed, appealed, or is still pending, explain
below.)

e The “three strikes rule” bars a prisoner from bringing a civil action or an appeal without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or
detained in any facility brought an action or appeal . . . that was dismissed on the grounds that
it is frivolous, malicious, or fails to state a claim upon which relief may be granted, unless the
prisoner is under imminent danger of serious physical injury.” 28 U.S.C. § 1915(g). To the
best of your knowledge, indicate if any of your cases were dismissed because they were
frivolous, malicious, or failed to state a claim upon which relief could be granted, had a
strike assessed, or were dismissed because of the “three strikes rule.”

UNITED STATES DISTRICT CouRr, WESTERN DISTRICT OF ARKANSAS
No. 5: Zt- cev- 050496
This Claim should be preset ved on 9 (bunds of plan erfor
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28 U.S.C.§ SIGI)(A), or othenwige

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VI. PLAINTIFF’S DECLARATION AND SIGNATURE

I agree to provide the Clerk's Office with any changes to my address where case-related papers may
be served. | understand that my failure to keep a current address on file with the Clerk's Office shall

result in the dismissal of my case.
I declare under penalty of perjury (18 U.S.C. § 1621) that the foregoing is true and correct.

Plaintiff must sign and date the complaint and provide prison identification number and prison
address.

4 JAN 2022. N). ALLEN 241056

Dated aintiff s Signature

Joe M. ALLEN

Printed Name (First, MI, Last)

241058

Prison Identification #, if any.

bib Gators DALE DRIVE FAYETTEVILLE ARKANSAS (72701

shed Pe eCity . sae AR. hd Code
Prepared. by:
OCONNOB 7/8386;
PRO PER: ALLEN Z+1056

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FAYETTEVILLE, AR FZ 7a!

FOREVER / USA

JAMIE GCANT, DEPUTY CLERK OF THE Covey

OFFICE OF THE CLERK OF THE COURT FORK THE

UNITED STATES pIstRicr CouBT FOR THE

WESTERN DISTRICT OF ARKANSAS, FAYETTEVIWE DIVISION

45 CAST MOUNTAIN, ROOM S1@
rAYETTEVILLE, Ar 7270!
